            Case 2:22-cr-00912-AM Document 20 Filed 06/23/22 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              DEL RIO DIVISION

United States of America                        §
                                                §
vs.                                             §      NO: DR:22-CR-00912(1)-AM
                                                §
(1) Jose Rodriguez-Santos                       §

                                             ORDER

       This case has been referred, by a general order, to the United States Magistrate Judge for

the taking of a felony guilty plea. 28 U.S.C. §636(b)(3) United States vs. Dees, 125 F3rd 261

(5th Cir. 1997).

       On 06/23/2022 the defendant and counsel appeared before the United States Magistrate

Judge who addressed the defendant personally in Open Court. The Court informed the defendant

that he had a right to have his plea taken by the United States District Judge and advised him of

the admonishments under Rule 11 of the Federal Rules of Criminal Procedure.

       The undersigned United States Magistrate finds as follows:

       1)      The defendant, with the advice of his attorney, has consented to the
               taking of his guilty plea by the undersigned United States
               Magistrate Judge. Sentencing will be conducted by the presiding
               United States District Judge;

       2)      The defendant understood the nature of the charges and penalties;

       3)      The defendant understood his constitutional as well as statutory
               rights and freely and voluntarily waived them;

       4)      The defendant pled guilty to Count One of the Indictment, Illegal
               Re-entry into the United States; without a plea agreement.

       5)      The defendant’s plea was made freely and voluntarily;

       6)      The defendant is competent to enter this plea of guilty; and
             Case 2:22-cr-00912-AM Document 20 Filed 06/23/22 Page 2 of 2




       7)       There is sufficient factual basis for this Defendant’s plea.

       8)       The defendant is hereby found guilty of the charge he pled guilty to.

                                      RECOMMENDATION

       It is therefore the recommendation of the undersigned magistrate judge that the

defendant’s guilty plea be ACCEPTED and that a judgement of guilt be entered against the

defendant.

                                              NOTICE

       The parties may wish to file objections to the above recommendations. Failure to file

written objections to the findings and recommendations contained in this Report within 14 days

from the date of its receipt shall bar an aggrieved party from receiving a de novo review by the

District Court of the findings and recommendations contained herein, see 28 U.S.C. §

636(b)(1)©), and shall bar an aggrieved party “except on grounds of plain error from attacking on

appeal the unobjected-to proposed factual findings and legal conclusions accepted by the District

Court.” See Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1429 (5th Cir. 1996).

       The Clerk shall promptly deliver copies of this Report and Recommendation to all

parties and their counsel.




This case is referred to the presiding United States District Judge for sentencing.

             Signed on this 06/23/2022.

                                                   ______________________________
                                                   VICTOR ROBERTO GARCIA
                                                   UNITED STATES MAGISTRATE JUDGE
